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                     Exhibit 7
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BR1997.1021/94                                                         interesser på stedet. Sagsøgte tilkendegav i skrivelser af 7. oktober
TfS 1997, 403                                                          1983, at man ikke for nærværende ønskede formelt at opgive
                                                                       brugspanteforholdet. I skrivelse af 15. marts 1984 tilkendegav
                                                                       sagsøgte1 at man først ville være indstillet på at bringe
Københavns byrets dom af 13. februar 1997, j nr. 1021/94               brugspanteforholdet til ophør, når sagsøgte var blevet fyldestgjort.
                                                                       Sagsøgte havde således ikke reelt fralagt sig brugspanteforholdet,
Skatteministeriet Told og Skattestyrelsen v/Kammeradvokaten            og det har ingen betydning for nærværende sag, at sagsøgte reelt
v/advokatfuldmægtig Tom Holsøe 2100 København Ø                        var indforstået med, at Hans Sylvestersen administrerede
mod                                                                    ejendommen. Administrationen af ejendommen skete i sagsøgtes
Dansk Landbrugsrealkreditfond, v/ advokat Preben Thomassen             interesse, og sagsøgte kunne når som helst overtage ejendommen
Nyrupsgade 21, 1602 København V                                        som brugspantehaver.
                                                                         Sagsøger har til støtte for påstanden om, at kravet ikke er forældet
Momspligt - brugspanteforhold - utilregnelig uvidenhed                 anført, at sagsøger har været i utilregnelig uvidenhed om, at
                                                                       sagsøgte var momspligtig i perioden, og at sagsøger først i januar
  ♦ Sagen drejede sig om, hvorvidt en realkreditfond reelt var         1992 var i stand til at gøre kravet gældende over for sagsøgte.
    brugspantehaver i en periode i 1984 og hæftede for moms, samt      Forældelsen har derfor været suspenderet indtil januar 1992.
    om myndighederne havde været i utilregnelig uvidenhed om           Sagsøger fik, som det fremgår ovenfor tvetydige svar fra Bent
    momspligten og først var i stand til at gøre kravet gældende i     Mylins rådgivere og sagsøgtes advokat.
    1992. Realkreditfonden fandtes ikke at have opgivet                  Sagsøgte har til støtte for påstande om, at sagsøgte ikke var
    brugspanteforholdet, og da de stedlige myndigheder i 1984 var      brugspanthaver i foråret 1984 anført, at sagsøgte reelt fralagde sig
    orienteret om forholdet, burde de have undersøgt forholdet.        det etablerede brugspantforhold med virkning fra den 26. september
    Den sagsøgte realkreditfond blev frifundet.                        1983, hvor man overlod administrationen ejendommen til advokat
                                                                       Hans Sylvestersen. Dette fremgår ligeledes af brevvekslingen
                                                                       mellem advokat Hans Sylvestersen og sagsøgtes advokat på stedet
  ♦     Den sagsøgte realkreditfond overtog i 1983 en ejendom          Hans Jakob Hansen. Mellem advokat Hans Sylvestersen og advokat
      til brugeligt pant, men overlod administrationen til en          Carl Henning Johansen var det drøftet, at advokat Hans Sylvestersen
      advokat, efter at der var åbnet tvangsakkord for skyldneren.     skulle overtage ansvaret for driften af Bent Mylins ejendom,
      Realkreditfonden afmeldte formelt brugspanteforholdet til        hvorved brugspanteforholdet reelt blev ophævet. I den anledning
      toldmyndigheden 1/7 1984. Sagen drejede sig om                   tilskrev advokat Karl Henning Johansen ved skrivelse af 30.
      spørgsmålet, om realkreditfonden reelt var brugspanthaver        september 1983 sagsøgte, og af skrivelsen fremgår blandt andet,
      i perioden januar-juni 1984 og hæftede for moms i perioden,      at "han (Sylvestersen) ønsker at DLR skal fravige
      samt om toldmyndigheden var i utilregnelig uvidenhed om          brugspanteforholdet mod at han indestår for, at der ud af beløbet
      realkreditfondens momspligt og først var i stand til at gøre     henstående hos ham ikke betales anden gæld, forinden DLR's
      kravet gældende fra 1992. Retten fandt, at realkreditfonden      restance er betalt. Jeg hører gerne om de vil anse denne "indståelse"
      ikke havde opgivet brugspanteforholdet og således var            for tilstrækkelig til opgivelse af brugspanteforholdet. Min opfattelse
      momspligtig. Da det stedlige toldkammer imidlertid i 1984        er at såfremt advokat Sylvestersen har pengene, kan han jo lige så
      var blevet orienteret om, at brugspanteretten fortsatte, burde   godt betale". Sagsøgte overlod herefter administrationen af Bent
      toldmyndigheden den gang have undersøgt forholdet                Mylins ejendom til tilsynet under betalingsstandsningen, hvilket
      nærmere, og den sagsøgte realkreditfond blev frifundet.          blandt andet fremgår af advokat Karl Henning Johansens skrivelse
Byretten                                                               af 11. oktober 1983 til Celebrity slagterierne om, at afregning for
Under denne sag, hvor dommen i henhold til retsplejelovens § 366a,     slagtning af dyr frem over skulle ske over for advokat Sylvestersen
stk. 2, affattes uden fuldstændig sagsfremstilling, har sagsøgeren,    Ribe. Formelt blev brugspanteforholdet ikke af sluttet overfor
Skatteministeriet Told og Skattestyrelsen, påstået sagsøgte, Dansk     fogedretten i Tønder med skriftlig meddelelse herom, men dette
Landbrugsrealkreditfond, dømt til at betale 52.430 kr. med tillæg      var heller ikke noget krav efter de daværende regler.
af renter 1,3% pr. påbegyndt måned af 26.215 kr. fra den 1.              Måtte sagsøgte anses for pligtig at skulle tilsvare moms i perioden
december 1984 og af 26.215 kr. fra den 1. marts 1985.                  1. januar til 30. juni 1984, er kravet forældet. Sagsøger anmodede
 Sagsøgte har påstået frifindelse.                                     ved skrivelse af 4. maj 1984 sagsøgte om at fremkomme med en
 Påstande vedrører momstilsvar for perioden 1. januar 1984 til den     redegørelse for, hvorfor brugspanteforholdet fortsat blev opretholdt.
30. juni 1984. Parterne er enige om beløbets størrelse. Parterne er    Sagsøger modtog en redegørelse herfor ved skrivelse af 7. maj
der imod ikke enige, om sagsøgte var brugspantehaver i den             1984. Sagsøger har således allerede den 4. maj 1984 været
omhandlede periode og derfor hæfter for kravet, og om kravet i så      opmærksom på, at der kunne foreligge et brugspanteforhold, der
fald er forældet.                                                      ikke var afmeldt af sagsøgte. Dette svar sammenholdt advokat Karl
 Gårdejer Bent Mylin's ejendom blev taget til brugelig pant den        Henning Johansens skrivelse af 6. juli 1984, hvor han meddelte, at
16. juni 1983 af sagsøgte. Skifteretten åbnede tvangsakkord for        brugspanteforholdet nu var endelig ophørt burde have givet sagsøger
skylderen den 15. september 1983, og sagsøgte afmeldte                 anledning til at undersøge forholdet nærmere.
brugspanteforholdet formelt over for sagsøger omkring den 1. juli        Under sagen er der afgivet forklaring af advokat Karl Henning
1984.                                                                  Johansen. Karl Henning Johansen har blandt andet forklaret, at han
 Sagsøger har til støtte for påstanden gjort gældende, at sagsøgte     var advokat for sagsøgte i 1983. Vidnets administration af Bent
var brugspantehaver i først halvdel af 1984. Selvom advokat Hans       Mylins ejendom ophørte den 26. september 1983. Der var
Sylvestersen blev beskikket som tilsyn for Bent Mylin i november       imidlertidig stadig et brugsspanteunderskud, og da Bent Mylin ikke
1983 har sagsøgte reelt bevaret brugspanteforholdet, hvilket           skønnes samarbejdsvillig, var sagsøgte interesseret i at have en
sagsøgte har tilkendegivet såvel over for advokat Hans Sylvestersen    "kort snor i ham", hvorfor man ikke ville opgive
som advokat Karl Henning Johansen, der varetog sagsøgtes               brugspanteforholdet. Efter den 26. september administrerede Hans
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Sylvestersen reelt ejendommen for sagsøgte. Sylvestersen var            om hæftelsesgrundlaget, burde have medført, at sagsøger allerede
imidlertid at anse som debitorrepræsentant. Konstruktionen var          i 1984 eller 1985 havde gjort sig sin stilling klar. Sagsøger har
opbygget således, at sagsøgte ved en eventuel misligholdelse straks     således ikke befundet sig i en utilregnelig uvidenhed om, at sagsøgte
kunne overtage pantet som brugspanthaver. Der var ingen pligt til       var moms pligtig i perioden.
at give meddelelse om ophør af det brugelige pant hverken til             Sagsøgte bør således frifindes.
fogedretten eller toldkammeret, og vidnet husker ikke i dag, hvorfor      Thi kendes for ret
han skrev skrivelsen af 6. juli 1984 til Distriktstoldkammeret. Der       Dansk Landbrugsrealkreditsfond frifindes. Inden 14 dage fra dato
er i virkeligheden tale om formalia.                                    betaler sagsøger, Skatteministeriet Told og Skattestyrelsen, til
  Rettens bemærkninger:                                                 Dansk Landbrugskreditfond sagens omkostninger med 9.400 kr.
  Det ligges til grund, at der ikke bestod nogen pligt for sagsøgte
til at afmelde den brugelige pant hverken over for fogedretten eller
distriktstoldkammeret. Det må således bero på en afvejning af de
reelle omstændigheder, om brugspanteforholdet bestod i perioden
den 1. januar 1984 til den 30. juni 1984.
  Ved skrivelse af 30. september 1983 forespurgte sagsøgtes advokat
Karl Henning Johansen sagsøgte om, hvorvidt sagsøgte ønskede
at fravige brugspanteforholdet. I skrivelse af 7. oktober 1983
meddelte sagsøgte, at man ikke for nærværende ønskede formelt
at opgive brugspanteforholdet. Ved skrivelse af 15. marts 1984
oplyste sagsøgte, at sagsøgte var indstillet på at bringe
brugspanteforholdet til ophør, når brugspanteunderskudet var
fyldestgjort. Dette underskud blev betalt ved skrivelse af 29. juni
1984, hvor advokat Hans Sylvestersen bemærkede til sagsøgte, at
han forudsatte at sagsøgte drog omsorg for ophævelse af brugspantet
over for de forskellige leverandører og herunder gav toldvæsenet
besked om den formelle ophævelse.
  Retten ligger til grund, at sagsøgte først ville fraskrive sig
brugspanteforholdet, når sagsøgte var fyldestgjort for restancer og
omkostninger. Det fremgår blandt andet af advokat Karl Henning
Johansens skrivelse af 7. maj 1984 til distriktstoldkammeret, hvor
advokaten oplyser, at "brugspantefoholdet fortsætter indtil akkorden
er opfyldt, for at have lidt "styr" på ejendommen, om DLR måtte
ønske dette. Brugsspanteforholdet giver fonden mulighed med
øjeblikkelig varsel at gribe ind i ejendommens drift". Dette svarer
til advokatens forklaring i retten, hvor han netop har udtalt, at
sagsøgte ønskede at have "styr" på Bent Mylin.
  Efter rettens opfattelse har sagsøgte således ikke opgivet sit
brugspanteforhold før alle restancer var betalt. Sagsøgte har således
i den pågældende periode været pligtig til at føre momsregnskab
og indbetale skyldig moms.
  Det fremgår af sagsøgers interne notat af 27. april 1984, at
sagsøger var blevet opmærksom på, at der formelt stadig kørte
brugspanteforhold på Bent Mylins ejendom. Notatet slutter med,
at sagsøgte "kommer til at overveje dette registrering- og dermed
hæftelsesforhold", og ved skrivelse af 4. maj 1984 anmodede
sagsøger advokat Karl Henning Johansen om en redegørelse, idet
"toldkammeret må være af den opfattelse, at brugspantehaver hæfter
for opstået afgiftstilsvar, så længe brugspante forholdet vedvarer,
og skal anmode dem om en redegørelse for, hvorfor
brugspanteforholdet fortsætter". Ved skrivelse af 7. maj 1984 fra
advokat Karl Henning Johansen blev sagsøger orienteret om, at
brugspanteforholdet fortsatte, indtil akkorden var opfyldt. Ved
skrivelse af 22. maj 1984 fastholdt sagsøger sit krav, hvilket blev
imødegået ved advokat Karl Henning Johansens skrivelse af 31.
august 1984. Denne skrivelse oplyste, at brugspanteforholdet
ophørte den 26. september 1983. Denne oplysning sammenholdt
med Bent Mylins påstand i fogedretten den 18. marts 1985, om at
sagsøgte havde ejendommen i brugelig pant i foråret 1984, burde
have givet sagsøger anledning til at undersøge hæftelsesforholdet
nærmere. Retten medgiver sagsøger, at sagsøger har fået tvetydige
oplysninger fra sagsøgte og dennes rådgiver og advokat Karl
Henning Johansen. Men netop den omstændighed, at oplysningerne
var tvetydige sammenholdt med, at sagsøger gjorde sig overvejelser
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